    Case 4:15-cv-03504-YGR Document 273-2 Filed 06/06/17 Page 1 of 5



                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA
                        OAKLAND DIVISION

CHRISTOPHER CORCORAN, et al.,        No. 15-CV-03504-YGR

                      Plaintiffs,

           v.

CVS PHARMACY, INC.,

                      Defendant.



                             INDEX BY TOPIC:




            EXHIBITS TO MOTION FOR SUMMARY JUDGMENT
                             Corcoran, et al. v. CVS Pharmacy, Inc., Case No. 15-cv-03504-YGR
                  Case 4:15-cv-03504-YGR Document 273-2 Filed 06/06/17 Page 2 of 5
                                      INDEX BY TOPIC
  EXHIBIT Description                                                                                       BATES NO.
    NO.
A. PBM & TPP Testimony
DX-321        Declaration of Joseph C. Zavalishin (February 2, 2017)
DX-400        Deposition of William John Barre (November 17, 2016)
DX-401        Deposition of Amber D. Compton (December 16, 2016)
DX-402        Deposition of Cal Corum (November 2, 2016)
DX-403        Deposition of John Martin Lavin (January 5, 2017)
DX-404        Deposition of Michael D. Reichardt (December 20, 2016)
DX-405        Deposition of Franceen Spadaccino (December 13, 2016)
DX-406        Deposition of William Strein (December 12, 2016)
DX-407        Deposition of Joseph Zavalishin (April 14, 2017)
PX-618        Declaration of Amber D. Compton (November 21, 2016)
PX-662        Declaration of G. William Strein (November 18, 2016)
PX-663        Declaration of Franceen Spadaccino, RPh. (November 18, 2016)
PX-691        Declaration of Michael D. Reichardt (November 20, 2017)
DX-507        Deposition of Caremark 30(b)(6) Representative, John M. Lavin (January 5, 2017)
PX-701        Declaration of John M. Lavin (November 18, 2016)
B. Expert Testimony
DX-408        Expert Report of Brett E. Barlag (December 9, 2016)
DX-409        Rebuttal Expert Report of Brett E. Barlag (January 27, 2017)
DX-410        Expert Report of Catherine Graeff (December 9, 2016)
DX-411        Deposition Excerpts of Joel W. Hay (March 17, 2017)
DX-412        Expert Report of John D. Jones (December 9, 2016)
DX-413        Deposition Excerpts of John Jones (December 14, 2016)
DX-414        Rebuttal Expert Report of John D. Jones (January 27, 2017)
DX-415        Expert Report of Edward G. McGinley (December 9, 2016)
DX-416        Rebuttal Expert Report of Edward G. McGinley (January 27, 2017)
DX-417        Deposition Excerpts of Robert Navarro (November 7, 2016)
DX-418        Expert Report of Dr. Michael P. Salve (December 9, 2016)
DX-419        Expert Report of Dr. Itamar Simonson (December 9, 2016)
DX-420        Expert Report of Pamela L. Wyett (December 9, 2016)
DX-421        Rebuttal Expert Report of Pamela L. Wyett (January 27, 2017)
DX-422        Rebuttal Expert Report of Donald Yett (January 27, 2017)
C. CVS Witness Testimony
DX-423        Deposition of CVS Pharmacy Inc. 30(b)(6) Representative, Hilary Dudley (September 20,
              2016)
DX-424        Deposition Excerpts of Susan F. Colbert (October 26, 2016)
DX-425        Declaration of Susan Colbert (November 21, 2016)
DX-426        Declaration of Susan Colbert (June 2, 2017)
DX-427        Deposition Excerpts of Thomas J. Gibbons, Individually and as Corporate Designee
              (December 13, 2016)
DX-428        Deposition Excerpts of Thomas E. Morrison (July 20, 2016)
DX-429        Deposition Excerpts of Elizabeth S. Wingate (October 20, 2016)
DX-430        Deposition Excerpts of Elizabeth S. Wingate (February 23, 2016)
D. Contracts and Provider Manuals
PX-785        Aetna Health Management National Pharmacy Services Agreement (January 15, 2009)              CVSC-0006529
PX-532        Express Scripts, Inc. Pharmacy Provider Agreement (January 18, 2008)                         CVSC-0325306
PX-615        Express Scripts Network Provider Manual (2010)                                               CVSC-0328074
DX-446        Express Scripts Network Provider Manual (2014)                                               CVSC-0332207
DX-447        Seventh Amendment to Express Scripts, Inc. Pharmacy Provider Agreement (February 11,         CVSC-0325112
              2013)
PX-677        Medco Health Solutions, Inc. Retail Pharmacy Agreement (January 1, 2005)                     CVSC-0355806
PX-551        Medco Pharmacy Services Manual (2009)                                                        CVSC-0067922
DX-266        Medco Pharmacy Services Manual (2009/2010)                                                   CVSC-0324389
PX-674        OptumRx, Inc. Pharmacy Network Agreement (January 29, 2015)                                  CVSC-0327927
PX-695        Prescription Solutions Prescription Drug Services Agreement (June 1, 1999) [Predecessor of   CVSC-0342343
              OptumRx]
PX-546        PCS Health Systems, Inc. Provider Agreement (March 31, 1997) [Predecessor of Caremark]       CVSC-0356399




                                                                    1
                          Corcoran, et al. v. CVS Pharmacy,
                  Case 4:15-cv-03504-YGR           Document Inc.,273-2
                                                                  Case No.Filed
                                                                          15-cv-03504-YGR
                                                                                06/06/17 Page 3 of 5


PX-679       CVS/Caremark Provider Manual (2016)                                                                 CVSC-0268116
DX-300       MedImpact Pharmacy Network Agreement (February 1, 2008)                                             CVSC-0333819
DX-448       Table compiling U&C Provisions and Third Party Beneficiary Clauses in CVS's contracts with
             Caremark, Express Scripts, Medco, MedImpact, and Optum.
DX-449       Compilation of Provisions from CVS-PBM Contracts
E. HSP Materials
DX-080       HSP Enrollment Form ($10 annual fee)                                                                CVSC-0000177
DX-310       Health Savings Pass Medication List (October 2010)                                                  CVSC-0008323
DX-431       Health Savings Pass Policy & Procedures 2.0 (February 17, 2012)                                     CVSC-0222014
DX-432       New Health Savings Pass Pharmacy Team Huddle Guide (October 21, 2008)                               CVSC-0001801
DX-433       Email from Sharon Edmunds re: FW: CVS Health Savings Pass Program -- template for                   CVSC-0397702
             summary of program (December 12, 2008)
DX-434       Letter from Christine L. Egan to John F. McCormick re: HSP (January 13, 2008)                       CVSC-0355171
DX-435       Handwritten Notes memorializing Thomas Morrison call with Andy Vasquez (October 30,                 CVSC-0000005
             2008)
DX-436       Email from Tom Morrison re: CVS Health Savings Pass Program (Nov. 4, 2008)                          CVSC-0000003
DX-437       Health Savings Pass Medication List (November 2013)                                                 CVSC-0223974
DX-438       Event Report for CVS Caremark 3Q Earnings Call (2008)                                               CVSC-0384870
DX-439       Transcript of CVS Caremark 3Q Earnings Conference Call at 6 (October 30, 2008)                      CVSC-0384895
DX-440       Health Savings Pass Marketing Materials                                                             CVSC-0000174,
                                                                                                                CVSC-0000190-192
DX-441          Health Savings Pass Enrollment Form ($15 annual fee)                                             CVSC-0227247
DX-442          Email from Bari Harlam re: Fyi - Health Savings Pass PR ( November 4, 2008)                      CVSC-0001686
DX-443          Email from Bari Harlam re: fyi - HSP PR (November 7, 2008)                                       CVSC-0001700
DX-489          Screenshots of HSP webpage and online enrollment form at CVS.com (archived image from            CVSC-0404808
                November 2008)
F. Plaintiffs' Testimony
DX-453          Plaintiff Testimony Chart re: Continued Patronage of CVS
DX-454          Plaintiff Testimony Chart re: Enrollment Fee Significant
DX-455          Plaintiff Testimony Chart re: CVS Made no False or Misleading Statement
DX-456          Table Showing Dates and Testimony re: Plaintiffs’ Continued Patronage of CVS, with
                Attached Prescription Records and Deposition Excerpts
DX-457          Plaintiff Testimony Chart re: No Association
DX-458          Plaintiffs' Revised Privilege Log (February 6, 2017)
DX-459          Deposition Excerpts of Plaintiff Zulema Avis (August 5, 2016)
DX-460          Deposition Excerpts of Plaintiff Debbie Barrett (September 16, 2016)
DX-461          Deposition Excerpts of Plaintiff Gilbert Brown (October 13, 2016)
DX-462          Deposition Excerpts of Plaintiff Carolyn Caine (July 26, 2016)
DX-463          Deposition Excerpts of Plaintiff Tyler Clark (October 26, 2017)
DX-464          Deposition Excerpts of Plaintiff Christopher Corcoran (November 3, 2016)
DX-465          Deposition Excerpts of Plaintiff Rober Garber (September 21, 2016)
DX-466          Deposition Excerpts of Plaintiff Vincent Garguilo (August 27, 2016)
DX-467          Deposition Excerpts of Plaintiff Amanda Gilbert (September 7, 2016)
DX-468          Deposition Excerpts of Plaintiff Zachary Hagert (August 12, 2016)
DX-469          Deposition Excerpts of Plaintiff Robert Jenks (July 28, 2016)
DX-470          Deposition Excerpts of Plaintiff Toni Odorisio (August 18, 2016)
DX-471          Deposition Excerpts of Plaintiff Onnolee Samuelson (August 19, 2016)
DX-472          Deposition Excerpts of Plaintiff Carl Washington (August 30, 2016)
DX-473          Deposition Excerpts of Plaintiff Walter Wulff (August 9, 2016)
G. Plaintiffs' Interrogatory Responses
DX-006          Plaintiff Carolyn Caine's Amended Responses and Objections to Defendant's Interrogatories
                (July 22, 2016)
DX-028          Plaintiff Robert Jenks' Amended Responses and Objections to Defendant's Interrogatories (July
                22, 2016)
DX-083          Plaintiff Walter Wulff's Amended Responses and Objections to Defendant's Interrogatories
                (August 1, 2016)
DX-092          Plaintiff Zachary Hagert's Amended Responses and Objections to Defendant's Interrogatories
                (August 5, 2016)
DX-102          Plaintiff Toni Odorisio's Amended Responses and Objections to Defendant's Interrogatories
                (August 1, 2016)


                                                                     2
                                Corcoran, et al. v. CVS Pharmacy, Inc., Case No. 15-cv-03504-YGR
                   Case 4:15-cv-03504-YGR Document 273-2 Filed 06/06/17 Page 4 of 5


DX-118          Plaintiff Onnolee Samuelson's Third Amended Responses and Objections to Defendant's
                Interrogatories (August 17, 2016)
DX-165          Plaintiff Vincent Gargiulo's Second Amended Responses and Objections to Defendant's
                Interrogatories (August 27, 2016)
DX-185          Plaintiff Carl Washington's Amended Responses and Objections to Defendant's Interrogatories
                (August 23, 2016)
DX-193          Plaintiff Amanda Gilbert's Amended Responses and Objections to Defendant's Interrogatories
                (August 25, 2016)
DX-201          Plaintiff Zulema Avis's Amended Responses and Objections to Defendant's Interrogatories
                (August 1, 2016)
DX-217          Plaintiff Debbie Barrett's Second Amended Responses and Objections to Defendant's
                Interrogatories (September 13, 2016)
DX-218          Plaintiff Robert Garber's Amended Responses and Objections to Defendant's Interrogatories
                (August 1, 2016)
DX-239          Plaintiff Gilbert Brown's Amended Responses and Objections to Defendant's Interrogatories
                (October 5, 2016)
DX-258          Plaintiff Tyler Clark's Supplemental and Amended Responses and Objections to Defendant's
                Interrogatories (October 7, 2016)
DX-270          Plaintiff Christopher Corcoran's Supplemental and Amended Responses and Objections to
                Defendant's Interrogatories (Oct. 7, 2016)
H. Plaintiffs' Admissions
DX-474          Plaintiff Zulema Avis's Responses and Objections to Defendant's First Set of Requests for
                Admission (February 21, 2017)
DX-475          Plaintiff Debbie Barrett's Responses and Objections to Defendant's First Set of Requests for
                Admission (February 21, 2017)
DX-476          Plaintiff Gilbert Brown's Responses and Objections to Defendant's First Set of Requests for
                Admission (February 21, 2017)
DX-477          Plaintiff Carolyn Caine's Responses and Objections to Defendant's First Set of Requests for
                Admission (February 21, 2017)
DX-478          Plaintiff Tyler Clark's Responses and Objections to Defendant's First Set of Requests for
                Admission (February 21, 2017)
DX-479          Plaintiff Christopher Corcoran's Responses and Objections to Defendant's First Set of Requests
                for Admission (February 21, 2017)
DX-480          Plaintiff Robert Garber's Responses and Objections to Defendant's First Set of Requests for
                Admission (February 21, 2017)
DX-481          Plaintiff Vincent Gargiulo's Responses and Objections to Defendant's First Set of Requests for
                Admission (February 21, 2017)
DX-482          Plaintiff Amanda Gilbert's Responses and Objections to Defendant's First Set of Requests for
                Admission (February 21, 2017)
DX-483          Plaintiff Zachary Hagert's Responses and Objections to Defendant's First Set of Requests for
                Admission (February 21, 2017)
DX-484          Plaintiff Robert Jenks's Responses and Objections to Defendant's First Set of Requests for
                Admission (February 21, 2017)
DX-485          Plaintiff Toni Odorisio's Responses and Objections to Defendant's First Set of Requests for
                Admission (February 21, 2017)
DX-486          Plaintiff Onnolee Samuelson's Responses and Objections to Defendant's First Set of Requests
                for Admission (February 21, 2017)
DX-487          Plaintiff Carl Washington's Responses and Objections to Defendant's First Set of Requests for
                Admission (February 21, 2017)
DX-488          Plaintiff Walter Wulff's Responses and Objections to Defendant's First Set of Requests for
                Admission (February 21, 2017)
I. Other Documents
       (1) State Law Charts
DX-450          Chart of State Laws re: Consumer Protection Statutes
DX-451          Chart of State Laws re: Fraud
DX-452          Chart of State Laws re: Negligent Misrepresentation
        (2) Press Releases and Articles
DX-284          Adam J. Fein, Pharmacy Profits and Wal-Mart , Drug Channel News (Jan. 15, 2009)
DX-490          Adam J. Fein, Walgreens’ 4.33 Surrender to Wal-Mart , Drug Channel News (June 25, 2008)




                                                                      3
                              Corcoran, et al. v. CVS Pharmacy, Inc., Case No. 15-cv-03504-YGR
                  Case 4:15-cv-03504-YGR          Document 273-2 Filed 06/06/17 Page 5 of 5


DX-491        Albertson’s Launches Rx Discount Program , Chain Store Age (Sept. 30, 2008)
DX-492        Press Release, CVS/Pharmacy Announces Pharmacy Health Care Savings Program Targeted             CVSC-0197684
              at the Uninsured , PRNewswire (Oct. 30, 2008)
DX-493        Email from Bari Harlam forwarding article by Jason Roberson, CVS' Generic Drug Program          CVSC-0292533
              Adds Clinic Discounts , Dallas Morning News (Nov. 3, 2008)
DX-494        Email from I. Blanton forwarding article by Lisa Girion and Andrea Chang, CVS Slashes           CVSC-0067885
              Generic Drug Costs, Escalates Price War , LA Times (Nov. 3, 2008)
DX-495        Best Buy Drugs - Many Common Generics Beat Brand Names, Consumer Reports (March
              2011)
DX-496        CVS Caremark Joins Others in Offering Discount Rx Program , Drug Benefit News, Vol. 9,
              No. 22 (November 14, 2008)
DX-497        Ryan: Discount Generics a Response to Economy, Not Competition , Drug Store News (Nov.
              17, 2008)
DX-498        Laura Klepacki, Discount Generics Programs Flood Retail , Drug Store News (Nov. 17,
              2008)
DX-499        Thomas M. Ryan, Editorial, Patient-Centered Healthcare , Boston Globe (June 26, 2009)

DX-500        Melissa Korn and Nathan Becker, Connecticut Launches Probe of CVS Caremark , Wall Street
              Journal (June 23, 2010)
DX-501        Stephen Singer, Conn., CVS in Dispute Over Discount Program , Associated Press Online
              (June 23, 2010)
DX-502        CVS Caremark at Odds with Conn. Medicaid over Discount Program , Drug Benefit News
              (July 16, 2010)
DX-503        Walmart Press Release: Wal-Mart's $4 Generics Program Launched in Final States (Nov. 27,
              2008)
DX-504        Email from Kirby Bessant forwarding Safeway Press Release: Safeway joins the $4 per month       CVSC-0001170
              US generic Rx sale (June 13, 2008)
DX-505        Rite-Aid Press Release: Free Rite Aid Rx Savings Card Available September 29 at all Rite Aid    CVSC-0000132
              Stores Nationwide so Americans can Save on More than 10,000 Prescription Drugs , Sept. 25,
              2008
DX-506        Kroger Press Release: Kroger and Its Family of Stores Expand Discounted Generic Drug
              Program (May 13, 2008)
       (3) Other Documents
DX-264        Email from Tina Egan re: Medco U&C-please pass to Medco legal (April 30, 2009)                  CVSC-0386102
DX-265        Letter from C. Calvin Corum to Tina L. Egan (April 29, 2009)                                    CVSC-0356466
DX-330        Aetna Meeting Agenda (November 13, 2008)                                                        CVSC-0366108
DX-444        Email from Sharon Edmunds re: Health Savings Plan (November 4, 2008)                            CVSC-0269294
DX-445        Email from Sharon Edmunds re: New CVS Generic Program (November 3, 2008)                        CVSC-0270288
DX-707        Email from Paul Hoolihan re: Allegheny Energy - Giant Eagle Pricing Question                   Caremark-0000829
PX-040        Email from Paul Ferschke re: Cash card discussion with Larry (April 9, 2008)                    CVSC-0222729
PX-703        Caremark Network Performance, Troubleshooting Set Price Generic Programs (October 1,           Caremark-0002102
              2008)
PX-704        Caremark Internal Spreadsheet re: Set Price Generic Programs
PX-757        AMCP Guide to Pharmaceutical Payment Methods, 2009 Update (Version 2.0) (August, 2009)




                                                                   4
